Case 0:21-cv-60125-RNS Document 271

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Case No.: 21-60125-CIV-SCOLA/GOODMAN
AO 187 (Rev. 7/87) Exhibit List

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

JIAi.+GMEN BENLIDA PRINTED CIRCUIT
CIRCUIT CO., LTD.,

VS.

CIRCUITRONIX, LLC

JOINT EXHIBIT LIST WITH
CTX'S SECOND AMENDED LIST OF ADDITIONAL EXHIBITS
AND BENLIDA'S PREVIOUSLY FILED AMENDED EXHIBIT LIST

| ut Ys Case No.: 21-60125-CIV-SCOLA/GOODMAN

Ex. 28 email)

PRESIDING JUDGE PLAINTIFF’S ATTORNEY DEFENDANT’S
Hon. Robert N. Scola, Jr. Jean-Claude Mazzola Stephen F. Rosenthal
Richard E. Lerner Matthew P. Weinshall
Christina H. Martinez
TRIAL DATE (S) COURT REPORTER COURTROOM DEPUTY
October 16, 2023 [Tammy-Nestor Ane Mano solo, Jacob Hasbun
Joint No.} PLF. No. |DEF. No. |DATE OFFERED |MARKED|ADMITTED DESCRIPTION OF EXHIBITS OBJ.
1 11-21-17 email from Tracy to Akshay re: Debit Memos for your
| reference
6-8-16 Debit Memo — penalty for lead time exceedances for PO’s
Z| for January 2016
4 Payment Detail A-R/UP
5 Benlida 2017 Reconciliation Statement Spreadsheet (created by A-R/UP
Nicole and Todor)
11-29-19 email from accounting@benlida.com to Nicole/Rishi
6 re: CTX, USA Payment reconciliation from Ist of April, 2012 A-R/UP
until present for BLD & ROK. Attachment: “No records DM
list”
7 Missing Invoice Spreadsheet (2012-2014)
8 Spreadsheet of CTX debit memos to ROK A-R/UP
12-2-19 email from accounting@benlida.com to Nicole/Rishi re:
9 CTX, USA Payment reconciliation from Ist of April, 2012 until
present for BLD & ROK. Attachment: “CTX missing inv. (with
BLD and ROK), ...”
10 te monthly statement from Benlida & ROK to CTX & CTX A-R/JUP
11 / [ Reconciliation spreadsheet A-R/UP
13 QI | (PL (7 |8-19-14 CTX Purchase Order
18 nen [* *_ [Dec. 13-14, 2016 Meeting Minutes
19 10-20-17 Meeting Minutes
20 , , March 3-9, 2018 Meeting Minutes
21 10//6 | Jo//G _|3-1-12 Manufacturing & Representation Agreement
24 st 6-18-16 email from Tracy to Nicole re: Penalty for Lead-Time
Exceedances- ROK & BLD Jan 2016 Orders
26 3-17-18- Meeting Minutes
4-30-16 email from Tracy to Todor re: pls use these when doing
28 : :
your numbering comparing [re: 2015 records]
29 1-1-15 CTX payment detail, with BLD comments (attachment to

Oct. 2015 Benlida monthly statement to CTX A-R/UP

“| 8-2015 Benlida monthly statement to CTX (dated 9-6-15)

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(Mowe K mat
7-13-16 email from Tracy to Sourabh re: procedure for
32 calculating leadtime exceedance penalty (includes Rishi to
Sourabh email from 6-21-2016)
6-21-16 email from Rishi to Sourabh Procedure for Calculating
33 Lead-Time exceedance Penalty
7 B&F 5-12-16 email from Tracy to Rishi re: ROK & BLD 5-1-16
Payment Details (comments re calculation of leadtime penalty)
| 3 5 12-2-15 email from ROK peb re: ROK & BLD Sch date we will
put off totally at least 35 days. Pls give your priority
12-3-15 email from Tracy to Rishi re: ROK & BLD Sch date will
36 be put off totally at least 35 days. Pls give your priority
38 11-16-15 email re: New PO# BEN-B1503541-X66 for P/N:
} | PO1V04 1131 for 600 pieces
40 l o/ { 4 /ol ! F _|8-2-16 email attaching 2016 Letter Agreement
41 [ i 2-29-16 email from Tracy to Rishi re: Feb. 25, 2016 Meeting
I minutes
7-28-16 email from Tracy to Rishi re: July 25, 2016 Meeting
#2 / 0 [a ( of / 7 minutes ,
a 12-19-16 email from Rishi to Tracy re: price increase (and Dec.
“3 l b/24 fo ly 14, 2016 meeting) °
44 12-19-16 email from Tracy to Rishi re: price increase (and Dec.
14, 2016 meeting) :
12-26-16 email from Tracy to Rishi re: Dec. 14, 2016 Meeting
= / 0 YY l anf minutes
7 : 1-6-17 email from Rishi to Tracy re: Dec. 14, 2016,Meeting
46 (ol (9 [0 {7 minutes Couer LMR
47 1-9-17 email from Tracy to Rishi re: Dec. 14, 2016 Meeting
4 minutes
10-22-17 email from Tracy to Rishi Oct. 19-20, 2017 Meeting
48 [ D | () fo h 7 minutes
10-31-17 email from Rishi to Tracy re: Oct. 20, 2017 Meeting
= fA / (9 bl 9 minutes
50 ‘ 11-2-17 email from Rishi to Tracy re: Oct. 20, 2017 Meeting
; minutes
_G\ 11-3-17 email from Tracy to Rishi re: Oct. 20, 2017 Meeting
| | [ o| [ 7 | 0] [ “7 minutes ”
11-7-17 email from Tracy to Rishi re: Oct. 20, 2017 Meeting
52 (> /7 tolt? minutes
a 2-23-18 email from Tracy to Rishi re: Feb. 7, 2018 meeting with
8 l¢ 2Y [o | NU |axshay Koul °
54 \ : 2-24-18 email from Tracy to Rishi re: meeting agenda list - 2018
1 Miami
55 | [satel 3-9-18 email from Tracy to Rishi re: March 2018 Meeting
minutes in Miami
56 . 3-10-18 email from Tracy to Rishi re: sheets mentioned during
‘ March 2018 meeting in Miami
0) 4-5-18 email from Rishi to Tracy re: price increase up to Jan &
57 / Oo [ / O [ q Feb 2018, attaching minutes of March 17, 2018 meeting in
: Benlida
3-21-18 email from Tracy to Rishi attaching minutes of March
58 (a[24 lohy 17, 2018 meeting in Benlida
59 ~*13.96-18 email from Tracy to Rishi re: reconciliation 2017
statement
60 1-16-19 email from Tracy to Rishi re: Meeting Minute
Conference Call on Jan. 16, 2019
63 5-23-23 Benlida’s Interrogatory Responses A-H
64 6-28-16 email from Douglas to Rishi re: 2015 invoice A-R/UP
discrepancy
11-21-16 email from Tracy to Rishi re: payment need in Nov.,
6 attaching BLD payment details A-R/UP
66 2-26-15 email from Todor to Benlida re: March 1, 2015 Payment
Details (December 2014 invoices) & bank slips
5-12-16 email from Tracy to Rishi re: pls use these when doing
67 number comparing [attaching invoice differences through Oct.
lg 2015]
5-21-17 email from Tracy to Rishi attaching photo of white
6% board recapping May 17, 2017 discussion
69 5-31-19 email from Tracy to Rishi attaching photo of whiteboard A-R/UP

recapping March 2018 meeting in Miami

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7-29-19 email from Tracy to Rishi responding to Rishi’s email to

0 (079 (o| (9 Douglas
A-R/UP/MIL (DE 198), #7
71 [ Oo (Q [ (9 7-14-16 email from Douglas to Rishi re: secondary agreement;
bank having discovered ROK is lying m-I/R/UP
2 7-5-16 email from Douglas to Rishi re: bank froze ROK’s A-R/UP/MIL (DE 198), #7
account m-I/R/UP
1
7B [ o| U4 ( © 3-27-17 email from Tracy to Rishi re: Tax department check — n-UR/UP
[ q requesting payment
12-9-18 email from Roger Wu to Rishi attaching “BLDROK
74 SHIPMENTS 1207” (BLD’s analysis of shipment amounts A-R/UP
through Oct. 2018)
15 12-2-18 email from Tracy to Rishi re: shipment payment, pls A-R/UP
feedback [attaching Payment Request memo (CTX_4356-59]
6 3-16-19 email from Tracy to Rishi re: BLD payments A-R/UP
; [reconciliation discussion showing 12-1-16 to 3-9-19 records]
6-19-19 email from Tracy to Rishi re: shipment payment (6-19- | A-R/UP
W i 0 (7 ( a| { ? 19 update after reconciliation) m-R/UP
8-1-19 email from Tracy to Rishi re: Final Payment A-R/UP
# / al ry fi 0 } {9 |Reconciliation for CTX, HKG, CTX, USA & ROK nl
, 11-14-19 email from accounting@benlida.com to Rishi, Akshay,
79 et al. re: CTX, USA Payment reconciliation from Ist of April,
/o (9 bh /) 2012 until present for BLD & ROK
80 Sinosure Claim Form (CTX, LLC) m-I/R/UP
82 6-7-18 email from Tracy to Rishi re: wire transfer of USD200K _|a-R/UP
85 9-6-18 email from Nicole Donaldson to Tracy re: BLD Payment
Detail & bank slips for your reference - June 2018 invoices
86 4-29-19 email from Tracy to Rishi re: BLD payments, attaching |A-R/UP
“Benlida reconciliation with CTX 0316.xlsx” -I

11-22-19 email from accounting@benlida.com to Rishi re: CTX,
USA Payment reconciliation from Ist of April, 2012 until present
for BLD & ROK, attaching “Benlida Shipment & Payment
Details CTX-HK 2012-2019.xlsx,” etc.

A-R/UP

88

12-4-19 email from accounting@benlida.com to Rishi re: CTX,
USA Payment reconciliation from 1st of April, 2012 until present
for BLD & ROK, attaching missing invoice details

A-R/UP

89

12-4-19 email from accounting@benlida.com to Nichole
Donaldson & Rishi re: CTX, USA Payment reconciliation from
Ist of April, 2012 until present for BLD & ROK

A-R/UP

90

12-4-19 email accounting@benlida.com to Nichole Donaldson &
Rishi re: CTX, USA Payment reconciliation from Ist of April,
2012 until present for BLD & ROK

A-R/UP

91

1-12-20 email from accounting@benlida.com to Sinosure,
attachments include 2019 email reconciled with CTX & Cash
transaction email after risk occurred

A-R/UP
m-I/R/UP

92

6-29-18 email from Nichole Donalson to Tracy re: “Benlida
Payment Details & Bank slips for your reference - April 2018
Invoice’s (Marked up by Ms. Chen)

93

8-1-2018 email from Nichole Donalson to Tracy re: “Benlida
Payment Detail & Bank Slips for your reference - May 2018
Invoices” (Marked up by Chen)

94

10-18-19 email from Tracy to Rishi re: Lead Time Penalty for 3-
2019

A-R/UP

95

11-13-19 email from Tracy to Rishi re: Lead Time Penalty for
BLD for May 2019 - Benlida feedback

96

12-30-16 email from Tracy to Rishi re: Minutes of Meeting with
BLD on December 14, 2016

97

11-30-16 email from Tracy to Rishi re: payment in Nov -- update
as per CTX accounting number

A-R/UP

3-4-19 email from Nichole to Melonnie Rhoden re: Benlida
Payment Detail & Bank Slips for your reference - November

2018 invoices

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Dd

3-6-19 email from Melonnie Rhoden to Tracy re: Benlida

99 Payment Detail & Bank Slips for your reference - December
2018 invoices
4-12-19 email from Melonnie Rhoden to Tracy re: Benlida
100 if No lo (( Payment Detail & Bank Slips for your reference - January 2019
invoices
| 5-1-19 email from Melonnie Rhoden to Tracy re: Benlida
101 Payment Detail & Bank Slips for your reference - February 2019
invoices
6-4-19 email from Melonnie Rhoden to Tracy re: Benlida
102 Payment Detail & Bank Slips for your reference - March 2019
invoices
7-8-19 email from Nichole Donaldson to Tracy re: Benlida
103 Payment Detail & Bank Slips for your reference - April 2019
invoices
8-1-19 email from Melonnie Rhoden to Tracy re: Benlida
104 Payment Detail & Bank Slips for your reference - May 2019
invoices
9-5-19 email from Melonnie Rhoden to Tracy re: Benlida
105 Payment Detail & Bank Slips for your reference - June 2019
invoices
10-4-19 email from Melonnie Rhoden to Tracy re: Benlida
106 Payment Detail & Bank Slips for your reference - July 2019
invoices
107 3-16-19 email from Tracy to Rishi re: Benlida payments
108 8-26-16 email from Tracy to Rishi re: Update payment A-R/UP
number—correct one
109 11-3-2016 email from Tracy to Rishi re: payment need in Nov. _ |A-R/UP
110 11-17-16 email from Tracy to Rishi re: payment need in Nov. A-R/UP
111 11-17-16 email from Tracy to Rishi re: payment need in Nov A-R/UP
112 3-16-19 email from Rishi to Tracy re: Belinda payments A-R/UP
113 5-19-19 email from Tracy to Rishi re: cash flow issue
114 5-30-23 CTX’s Supplemental Answers to 1* set Interrogatories
5 5-22-19 email from Melonnie Rhoden to Tracy re: Belinda
| Statement Reconciliation April 2019
110 10-1-16 CTX Payment Detail for ROK A-R/UP
11-1-19 email from Rishi to Douglas re: CTX, USA payment
120 / d / 4] ( Of! 9 reconciliation from 1" of April, 2012 until present for BLD & — |A-R/UP
. ROK
7-29-19 email from Rishi to Douglas re: Final Payment
121 (ofa io} / _) Reconciliation for CTX, HKG, om. USA & ene A-RVUP
122 ° 12-4-14 email from Todor to Tracy re: Dec. 2, 2014 payment
detail for Benlida in the amount of $5,821.01
2-2-15 email from Todor to Tracy re: Benlida Payment Detail &
123 [ OD | § | oO | ¥ bank slip as proof of payment/ROK bank slip (attaching Benlida |A-R/UP
Payment Details Jan. 1 and Feb. 1, 2015)
2-26-15 email from Todor to Tracy re: Payment Detail & Bank
124 slip as proof of payment (attaching Benlida Payment Details
March 1, 2015)
4-27-15 email from Todor to Tracy re: Payment Detail & bank
125 slip (attaching ROK payment details for March 2014 — April A-R/UP
2015)
126 8-31-16 email from Rishi to Tracy re: update payment number - A-R/UP
correct one
127 3-27-17 email from Rishi to Tracy re: invoice discrepancy
analysis update
128 9-1-16 CTX Payment Detail
129 Benlida’s outside auditor’s Confirmation of Balances to CTX,
LLC for 2017
6-3-19 email from accounting@benlida.comr to Rishi, et al. re:
131 Confirmation for Audit Purposes (attaching Benlida’s outside A-R/UP
auditor’s Confirmation of Balances for 2018)
13% 7-31-20 email from accounting@benlida.com to Rishi, et al. re:
Confirmation for Audit Purposes (attaching Benlida’s outside A-R/UP
{4 _ f auditor’s Confirmation of Balances for 2019)
133 /olFfp /O/} ) |2015 Benlida monthly statements to CTX (Jan — Dec.) A-R/UP
134 "| *  [* © [Screenshot of Chinese Tax Authority Portal m-I/R/H/UP
135 Screenshot of Communications with Chinese Customs Bureau__|-I/R/H/UP

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Masld put
136 [Ol 25 | £0] 2, |9-9-21 email dated re: Statement of Aug. 2021 A-R/UP
136A Tale O| /2/>2@€_|8-21 Benlida monthly statement to CTX
136B [ f* { (@ — |9-9-21 Benlida monthly statement to CTX
137 4-30-18 email from Alfredo More to Tracy re: “DHL Invoices _ |A-R/UP
| 138 CTX Excel spreadsheet — Benlida proformas A-R/UP
| 4 \ ROK Payment Details CTX-US-HK 2012-2018 A-R/UP
Payment Schedule for ROK_US_HK Payment Detail
140 y A-R/UP
Reconciliation
142 Benlida vs CTX Accounting event m-R/UP
143 Summary —LTP data (Excel) [print out first page and mark it A-R/UP
with placeholder]
145 Working Analysis — Table 7 and additional tables A-R/UP
. BLD Payment Details_CTX-US_2012-2021_v.5 [print Ist page
148 /o\19 lol (1 \scom email A-R/UP/MIL (DE 197)
1-10-18 list of 2017 shipment amounts from BLD and ROK to ;
150 CTX-HK A-R/UP
BLD Payment Details CTX-US- V5_2012-2019 [previously
153 [ 2 Ly [ Oo { x marked exhibit 120] (‘CTX Recon”)
154 t 2012-2019 Reconciliation Analysis 2019.11.15 CCT A-R/UP
155 3-10-15 DM # 0310” (one of the ones in KM’s judgmental set)
156 BLD Penalty for LT Exceedance Reports Nov. 2020
157 ! { BLD Penalty for LT Exceedance Reports April 2020
159 Tol o? | JA@(7 {3-21-16 CTX Debit Memo
160 t Oct. 20, 2013 CTX Debit Memo
161 9-12-14 CTX Debit Memo
166 4-12-19 Benlida invoice to CTX (CCT-BLD-190412001)
i A-R/UP
168 Binder of Barry Mukamal 7-R/UP

CTX's Additional Exhibits

4-23-13 email from Rishi to Tracy re: Penalty for Leadtime

D-A Violation [CTX 1524-1525]
7-1-13 email from Sunny Kapoor to Tracy re: Penalty for
iE [ ol 14 | Lo (9) |Leadtime Violation [CTX 1607-1612] ¥
D-c : 10-16-13 email from Tracy to Rishi re: meeting minutes [CTX |,
| 3412-3413]
D-F 2-4-15 email from Tracy to Sunny re: bring down unit price from |, ,
Feb order — Urgent [CTX 3414-3417]
D-G 7-1-15 email from Tracy to Rishi re: price increase [CTX 3717] |**
D-H 9-17-15 email form Tracy to Douglas re: Penalty for Leadtime |,
Violation [CTX 4763-4764]
D-JI 12-9-15 email from Tracy to Rishi re: fyi! [CTX 1533344- ed
1533363]
DL 1-3-16 email from: Tracy to: Rishi re: Delamination Issues D- ay
8794705PNP02+0 [CTX 1703-1705]
D-M 1-7-16 email from Tracy to Rishi re: payment of Jan 2016 [CTX ],.,.
2172]
1-28-16 email from Tracy to: Rishi re: URGENTREMINDER:
D-O FNGIH — AE... [discussing leadtimes disagreement] a
[CTX_1716-1721]
2-17-2016 email from Charles Mervens to rokpcb@126.com,
D-P Tracy re: new order for PO: BLD-1206508-X68 / PN: 0704116 |**
for 600 pes [CTX 1688-1702]
DR 2-19-16 email from Tracy to Charles Mervens re: Debit Memo,
BEN-DM2016017 for your reference [CTX_1685-1686]
D-S 2-19-16 from Tracy to Rishi re: payment need for Benlida and |,
ROK [CTX 2170]
DT 2-23-16 email from Tracy to Rishi re: Leadtime Penalty we
discussion info [CTX 1526]
D-U 2-25-16 email from Tracy to Rishi re: Benlida [CTX 1508] +
D-W 3-3-16 email from Tracy to Rishi re: 2 million loan and Sinosure |,,,,
[CTX979-983]
D-X 3-7-2016 email from Tracy to Rishi re: need wire to Benlida ek
| [CTX_1147-1150]
| D-Y 3-8-16 from Tracy to Rishi re: loan proposal [CTX_1327] *e
D-Z 3-11-16 from Tracy to Rishi re: need wire to Benlida [CTX_991-],.,

997]

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4 BAN / age 6 of 15

3-21-16 email from Tracy to Rishi re: need wire to Benlida [CTX], ,

D-AA 2196-2202]
3/22/2016 Email from Jim HonKit Cho to Tracy Benlida re:

D-BB Penalty for Lead Time exceedances - BLD (CTX-HK)—[CTX  )**
294858-294860]
3-23-16 email from Tracy to Rishi re: leadtime on orders aoe

D-CC [CTX_813-814]

D-FF 4-13-16 email form Tracy to Rishi re: Payment in Apr 2016 ae
[CTX 1162]
4-13-16 email from Tracy to Rishi re: CTX orders and lead time |,,

D-GG [CTX 796]

D-HH 4-15-16 email from Tracy to Sourabh re: CTX orders andlead |,
time- update 0416 [CTX 809-810]

Du 4-19-16 email from Tracy to Rishi re: wave penalty on PQ26 and },.,
Imm Tin [CTX 1363]

D-II 4-21-16 email from Tracy to Rishi re: payment in Apr 2016 ek
[CTX_2178-2179]

D-KK 4-22-16 email from Tracy to Rishi re: some emails for your sek
reference [CTX 1600-1602, CTX 1604, CTX 1607-1614]

D-LL 4-25-16 email from Tracy to Rishi re: Penalty for Leadtime x
Violation- update [CTX 1522-1523]

D-MM 5-3-16 email from Tracy to Sourabh re: pending repeat order e
price need to be fixed- IMPORTANT! [CTX 1081-1085]

D-NN 5-11-16 email from Tracy to Rishi re: 2015 leadtime exceeding |,,
penalty discussion Jan-Jul) [CTX 1511]

D-00 5-13-16 email from Tracy to Rishi re: Imm Tin processing cost |...
update—May 2016 [CTX 1493-1495]

D-PP 5-16-16 email from Tracy to Rishi re: HKG personal account info}, ,
[CTX 2007-2008]

D-QQ 6-27-16 email from Tracy to Sourabh re: Procedure for ak
Calculating Leadtime Exceedance Penalty [CTX 1561-1563]

D-RR 6-28-16 email from Douglas to Rishi re: remind on pending ee
issues [CTX 1365-1375]

D-ss 6-29-16 email from Tracy to Sourabh re: Pricing Discrepancy we
[CTX 959-962]

D-TT 6-30-16 email form Tracy to Rishi re: remind on pending issues |,,
[CTX 1434-1445]
7-3-16 email from Tracy to Sourabh re: Pricing Discrepancy

D-DU [involving remittance information, please pat attention to the **
safety of property] [CTX 966-969]

D-VV 7-5-16 email from Douglas to Rishi re: bank froze ROK’s ak
account [CTX 1376-1389]

D-ww 7-11-16 email from Tracy to Rishi re: Pricing Discrepancy [CTX |,,,
921-929]
7-13-16 email from Tracy to Sourabh re: Procedure for

D-XX Calculating Leadtime Exceedance Penalty [CTX 1565-1569, we
CTX 1571-1572]

D-YY 7-14-16 email from Tracy@Benlida to Rishi Re: Procedure for |,
Calculating Leadtime Exceedance Penalty; [CTX 1576-1581]

D-77 7-14-2016 email from Tracy to Rishi re: [E] # : Re: secondary ae
agreement [CTX 2205-2220]

D-A3 7-14-16 email from Douglas to Rishi re: secondary agreement, |,
bank having discovered ROK is lying [CTX 1390-1403]

D-B3 7-16-16 email from Tracy to Rishi re: Procedure for Calculating |,.,
Leadtime Exceedance Penalty [CTX 1583-1589]

D-C3 7-25-16 email from Tracy to Rishi re: LT Penalty waving details |,,
[CTX 1529]

D-D3 7-25-16 email from Tracy to Rishi re: CTX HK BLD Penalty for |,.,
Lead-Time Exceedances [CTX 1506]

D-E3 8-3-16 email from Tracy to Rishi re: required urgently ex
[CTX_1320-1321]

D-F3 8-11-16 email from Tracy to Rishi re: updated payment ae
number—correct one [CTX 1354-1362]
9-7-16 email from Tracy to Rishi re: payment need in Sep [CTX

D-G3 ee
2171]

D-H3 9-13-16 email from Tracy to Rishi re: leadtime basket [CTX 821]|**

D-B 9-23-16 email from Tracy to Rishi re: need help on wire transfer | ,,
[CTX 2173]

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or Xai

D-3B 9-29-16 email form Tracy to Rishi re: payment need in Sept 1%
[CTX 867-870]

D-K3 10-6-16 email from Tracy to Rishi re: CTX orders and output “ei
[CTX 808]

D-L3 11-14-16 email from Tracy to Rishi re: price increase notice 4
[CTX 785]

D-M3 11-21-16 email from Tracy to Rishi re: payment need in Nov as
[CTX_1260-1273]

D-N3 11-17-16 email from Tracy to Rishi re: price increase notice ‘i

| ; [CTX 787-789]

11-18-16 email from Tracy to Rishi re: price increase notice *

DAS / all / a] LY [CTX 791-795] “

D-P3 , " 112-8-16 email from Tracy to Rishi re: KB Price increase notice dee
on 2016/12/08 [CTX 782]

D-Q3 12-8-16 email from Tracy to Rishi re: price increase notice on |,
2016/12/08 [CTX 784]

D-R3 1-16-17 email from Rishi to Tracy re: shipment and ie
payment—update on 1/13/2017 [CTX 3446-3454]

D-S3 2-22-17 email from Tracy to Rishi re bank slips -- more payment |, ,
should be made [CTX 2002-2004]

D-T3 3-15-17 email from Tracy to Rishi re: shipment and payment --_ |,
20170315 [CTX 2068-2069]
3-21-17 email from Tracy to Rishi re: urgent issue on ROK .

a loll. lol} ( foreign exchange!!! -- CTX 2070 “

D-V3 4-7-17 email from Tracy to Rishi re: [V for OSP—up to 201702 |,.,.
[CTX 3480-3486]

D-W3 4-10-17 email from Tracy to Rishi re: price increase in 201703 |,
[CTX 3749]

D-Z3 4-13-17 email from Tracy to Rishi re: price increase in ee
201703—tevised! [CTX 3491-3492]

D-A4 4-17-17 email from Tracy to Rishi re: wire transfer further bee
discussion [CTX 3495-3496]

D-B4 4-17-17 email from Tracy to Rishi re: Fw: Fw: shipment and -_
payment in Apr 2017 [CTX 3497-3501]

D-C4 4-19-17 email from Tracy to Rishi re: pls send ROK one more |, ,
wire from CTX HKG [CTX 3502-3507]

D-D4 4-29-17 email from Tracy to Rishi re: price increase in 201703 -- |,,.,
revised [CTX 3508-3510]

D-F4 5-9-17 email from chzhj512@163.com to ee
todorc@circuitronix.com [CTX 3722]

D-H4 5-15-17 email from jmllp@126.com to_todore@circuitronix.com |}, ,
[CTX 3725]

D-I4 5-16-17 email from Tracy to Rishi re: price increase in 201703 -- |,.,,
update with breakdown [CTX 3533-3535]

D-K4 6-3-17 email from Tracy to Rishi re: price increase in 201704 ee
[CTX 3548]

D-L4 7-1-17 email from Tracy to Rishi re: price increase in 201704 8
and 201703

D-M4 6-3-17 email from Tracy to Rishi re: Monthly statement of April |,.,,
2017 [CTX 3742]
6-6-17 email from chzhj512@163.com to

D-N4 todorc@circuitronix.com re: STATEMENT OF MAY IN *
2017 (ROK) [CTX 3714]

D-04 6-9-17 email from Tracy to Rishi re: price increase in 201704 we
[CTX 3719]

D-04 7-1-17 email from Tracy to Rishi re: price increase in 201704 #
and 201703 [CTX 3738]

D-R4 7-3-17 email from Tracy to Howard re: Monthly statement of ¥e
April 2017 [CTX 3721]

D-S4 7-4-17 email from Tracy to Rishi re: update coston Imm Tin see
processing in Benlida [CTX_3612-3614]

D-T4 7-3-17 email from Tracy to Rishi re: IV for OSP-up to 201702 |,
[CTX_3601-3609]

D-U4 7-6-17 email from chzhj512@163.com to ia
todorc@circuitronix.com [CTX 3735]

D-v4 7-8-17 email from Tracy to Rishi re: price increase in 201705 4
[CTX 3709]

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6-10-17 email from jmllp@126.com to LinaO@circuitronix.xom ],.,,

DW4 re: [Chinese characters] statement of MAY 2017)[CTX 3711]
7-17-17 email from Tracy to Rishi re: price increase 201705 -- |...

D-v4 , __ |crx 3730
7-22-17 email from Tracy to Rishi re: PCB price up analysis- £%

D2 [ of WY | ( ol 2Y |o01703-06 and CCL price [CTX 3751]

t f

8-2-17 email from Tracy to Rishi re: OSP chemical payment must}, ,,

p= close today — recap of our call at 7:00 pm [CTX 3766-3768]

D-BS 8- 21-17 email from Tracy to Rishi re: PCB price up analysis- up |,.,,
to 201708 [CTX 3772]

D-cs 9-2-17 email from Tracy to Rishi re: price increase in 201707 wee
[CTX 3778-3780, CTX 3782, CTX 3785]

D-Ds 9-2-17 email from Tracy to Rishi re: PCB price up analysis- up to},
201708 [CTX 3788-3789]

D-E5 10-20-17 email from Tracy to Rishi re: price increase form £5
(revised on 10/20/17) [CTX 3817]

D-FS 10-22-17 email from Tracy to Rishi re: price increase form #
(revised on 10/20/17) [CTX 3820-3821]

D-G5 11-2-17 email from Tracy to Rishi re: pls review wires [CTX we
2020-2021]

D-Hs 11-3-17 email from Tracy to Rishi re: PCB price up analysis- up |,
to 201711 [CTX 3827-3828]

D-I5 11-10-17 email from Rishi to Tracy re: shipement [sic] and ee
payment in Oct 2017 [CTX 3834]

D-I5 11-22-17 email from Tracy to Rishi re: Benlida/ROK: Debit ee
Notes — [CTX_3846-3847]

D-K5 11-22-17 email form Rishi to Akshay re: shipment and payment |,.,,
in Nov 2017 [CTX 1533364-1533366]

D-LS 12-7-17 email from Tracy to Rishi re: PCB price up analysis- up |,.,.
to 201712 [CTX 3854-3856]

D-MS 12-7-17 email from Tracy to Rishi re: price increase in 201710 |...
[CTX 3858-3859, CTX 3863, CTX 3866]

D-NS 3-7-18 email from Tracy to Rishi re: [2] 2 : shipment report up to |,
Mar [CTX 858791]

D-05 1-23-18 email from Tracy to Rishi re: price increase confirmation], ,
[CTX 3870]

D-P5 1-27-18 email from Tracy to Rishi re: price increasing ex
confirmation [CTX 3871-3874]

D-05 2-25-18 email from Tracy to Rishi re: PCB price analysis- up to |,.,
201802 [CTX 3880-3882]

D-RS 2-25-18 email for Tracy to Rishi re: meeting agenda list- 2018 |,
Miami [CTX 3933]

D-S5 3-21-18 email from Tracy to Rishi re: OSP production area ¥e
breakdown update -- up to Dec 2017 [CTX_2022-2026]

D-TS 4-4-18 email from Tracy to Rishi re: price increasing up to Jan |,
and Feb 2018 [CTX 3932]

D-US 4-4-18 email from Tracy to Rishi re: ] #: short paid USD76K_ |,.,
==> USDI51K [CTX 859167-8591672]

D-V5 4-4-2018 email from Tracy to Rishi re: short paid USD76K ==> |,
USD151K_ [CTX 2080-2085]

ria 4-17-18 email from Tracy to Rishi re: [5] £ : [E] &: shipment we
report up to Apr -- update and important! [CTX 2086-2093]

D-X5 4-9-18 email from Tracy to Rishi re: [2] # : ##: shipment report |,
up to Apr -- with wire plan [CTX 923992-9239926]

D-Y5 4-23-18 email from Tracy to Rishi re: update manufacturing bs
agreement [CTX 1533367-1533382]

D-Z5 4-24-18 email from Tracy to Rishi re: pls release payment on és
price increase of Jan 2018 [CTX 3953-3958]

D-A6 4-25-18 email from Tracy to Roishi re: shipment report up to Apr]...
— [CTX 3959-3972]

D-B6 4-27-18 email from Tracy to Rishi re: payment for this week we
shipment [CTX 783515]

D-C6 4-30-18 email from Alfredo Mora to Tracy re: DHL Invoices ‘ex
[CTX_1533220-1533262]
5-6-18 email from Tracy to Rishi re: payment for this week

D-D6 shipment + Benlida’s feedback [CTX 3987-3994; CTX 3997- +f
4002]

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(har - 5-8-2018 email from Tracy to: Rishi re: OSP payment — up to ee

a Feb 2018 [CTX 4025-4030]
5-17-18 email from Tracy to Lina re: DHL Invoices -- Benlida's_ |,

DES feedback [CTX 4040-4042]
5-21-18 email from Rishi to Tracy re: update manufacturing we

D-G6 agreement [CTX-1533337-15333343]
5-23-18 email from Tracy to Rishi re: price increasing up to Apr |,

DeH5 2018 [CTX 4056-4057]

D-I6 5-28-18 email from Tracy to Rishi re: shipment and payment in |,
May 2018 -[CTX 93005-930019]
6-5-2018 email from Tracy to Rishi re: price increasing up to Apr|,.,

D-J6 2018 JCTX 4060-4061]
6-5-18 email form Tracy to Rishi re: the latest statements from

D-K6 2018/1-2018/4 (BLD&ROK) [CTX 4064-4065, CTX 4073- #e
4074]

D-L6 6-7-18 email from Tracy to Rishi re: wire transfer of USD200K |,
[CTX 4078]

D-M6 6-12-18 from Tracy to Rishi re: order releasing breakdown up to |,.,
May 2018 [CTX_4087]

D-N6 6-25-18 email from Tracy to Rishi re: price increasing up to May |,.,,
2018 [CTX 4107-4108]

D-06 7-9-18 email from Rishi to Tracy@Benlida Re: Benlida and a
ROK Lead time Penalty Reports for All Months CTX_4136-4137

D-P6 7-17-18 email from Tracy to Rishi re: Benlida and ROK Lead 2%
Time Penalty Reports for All Months [CTX 4138]

D-06 7-23-18 email from Tracy to Rishi re: Order releasing breakdown |}, .,
up top May 2018

D-R6 8-15-18 email from Tracy to Rishi re: price increasing up to July |,.,
2018 [CTX 4145-4147]

D-S6 8-16-18 email from Rishi to Tracy re: Benlida and ROK Lead we
Time Penalty Reports all for All Months [CTX 4189]

D-W6 9-3-18 from Tracy to Nicole re: shipment and payment in Aug |,
2018

D-Y6 9-18-18 email from Sourabh Sharma to Tracy re: customer code |,
update and share CTX [CTX 1517343 - 1517343-44]

D-B7 10-27-18 email from Tracy to Rishi re: price increasing up to Sep],
2018 [CTX 4304-4306]

D-C7 12-3-18 email from Tracy to Rishi re: CCT [CTX 4395-4400] <*

D-D7 12-9-18 email from Kunny Woo to Rishi re: Re:RE: [A 2: #8
CCTH BRR KID [CTX 4435-4444]

D-E7 2-23-19 email from Tracy to Rishi re: meeting minutes 20180207],
[CTX 2017-2019]
3-6-19 email from Melonnie to salesO1@benlida.com re: Benida

D-F7 Payment detail and bank slips for your reference- December *#
2018 invoices [CTX 1288957-1288961]

D-G7 3-8-19 email from Rishi to Tracy re: Benlida payments [CTX we
4474-4477]

D-H7 3-8-19 2:43 PM email from Rishi to Tracy re: BLD Payments ia
[CTX 4469-4473

D-7 3-16-19 1:12 AM email from Rishi to Tracy re: BLD Payments |,
CTX_4493-4501]

D-I7 4-29-19 email from Tracy to Rishi re: about the reconciliation +

, process [CTX 4502-4503]

5-24-19 email from Rishi to Tracy re: BLD-ROK Shipment &

Dat i ol / 7 [ of 7 Payment report as of 5/18/2019 [CTX 4522] "

D-L7 6-16-19 email from Tracy to Rishi re: price increasing up to Feb |,
2019 [CTX 4515-4518

D-M7 6-16-19 email from Tracy to Rishi re: price increasing up to Feb },.,
2019 -- CTX 4638-4641]
7-4-19 email form Tracy to Rishi re: Please provide the following

D-N7 so that I can complete my proposal for tomorrow’s meeting [CTX |**
4661-4662]

D-07 7-13-19 email from Tracy to Rishi re: notice [BLD_23046- ek
230047]

D-P7 7-17-19 email from Tracy to Rishi re: notice [CTX 4678-4687]  |**

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D-Q7

7-17-19 email from Melonnie to Tracy re: Benlida Payment
Detail and Bank slip- April 2019 invoices [CTX 1382274-
1382276]

RE

D-R7

7-29-19 from Rishi to: douglas re: Benlida Air freight Debit
Information [CTX_4699]

E

D-S7

8-1-19 email form Melonnie to Tracy re: Benlida Payment Detail
and bank slip- May 2019 invoices [CTX 1050145-1050149]

1K

D-T7

8-24-19 email from Tracy to Nicole D re: Shipment and payment
in Aug 2019 [CTX1526750-1526751]

D-U7

ol 7

8-5-19 email from Rishi to Tracy re: Urgent P/Ns [CTX 949444-
949445]

eK

D-V7

8-8-19 email from Akshay to Rishi re: Call with Tracy [CTX
1533219]

OK

D-W7

9-3-19 email from Tracy to Rishi re: shipment and payment in
Aug [CTX-1533397-1533401]

D-X7

9-12-19 email from huang ly@sinosure.com.cn to Ms. Chen re:
Benlida Cases EC201910004 & EC20191005 [BLD 23046-
230047]

D-Y7

oll?

9-26-19 email from Rishi to Tracy re: Lead Time Penalty for
Benlida April 2019 [CTX 4734]

ww

D-Z7

9-26-19 email from Rishi to Tracy re: Lead Time Penalty for
Benlida March 2019 [CTX 4738]

ee

D-A8&

9-30-19 email from Rishi to Tracy re: Lead Time Penalty for
Benlida May 2019 [CTX 4742]

D-B8

10-4-19 email form Melonnie to sales01@benlida.com re:
Benlida Payment detail and bank slip for- July 2019 invoices
[CTX 1336809-1336812]

EK

D-C8

10-18-19 email from Tracy to Rishi re: Leadtime Penalty for
March 2019 [CTX 4746-4747]

D-D8

11-1-19 email from Rishi to Douglas re: Circuitronix, USA

pAyment Reconciliation from 1" April, 2012 Until Present for
Benlida and ROK [CTX_1751-1753]

ee

D-E8

11-5-19 email from Melonnie to salesO1@benlida.com re:
Benlida Payment detail for August 2019 [CTX 1480974-
1480975]

D-F8

11-11-19 email from andy_ng@eingglungpcb.com to Rishi re:
Commercial issue [CTX1533218]

RK

D-H8

11-20-19 email from Rishi to: tracy re Updated Debit
Information [CTX4780]

2K

D-I8

12-2-19 email from Akshay to Rishi re: Meeting with Yuwei on
12/9/19 on their Shenzhen plant [CTX 1533214]

D-J8

12/2/19 email from accounting@benlida.com to Nicole D, Rishi
re: CTX, USA payment reconciliation from Ist of April, 2012
until present for BLD and ROK [CTX_1754-1759]

D-K8

12-3-19 email from Melonnie to Tracy re: Benlida Payment detail
for September 2019 invoices [CTX 1481386-1481387]

oR

D-L8

12/4/19 email from accounting@benlida.com to Nicole D, Rishi
re: CTX, USA payment reconciliation from Ist of April, 2012
until present for BLD and ROK [CTX 1875-187]

D-M8

12/4/19 email from accounting@benlida.com to Nicole D. CTX,
USA payment reconciliation from Ist of April, 2012 until
present for BLD and ROK [CTX 1883-1888]

eK

D-N8

12-23-19 email from Tracy to Nicole, etc. re: Urgent PN list for
Proforma Invoice [CTX 1250503-1250507]

ee

D-O8

1-19-20 email from Tracy to Rishi re payment for the shipped but
unpaid orders [CT X-01533402-413]

aR

D-P8

3-4-20 email from Tracy to Rishi re: update on payment and
shipment [CTX 377958-377961]

eK

D-Q8

4-4-20 email from Tracy to Rishi re: Arbitration agreement and
premium of shipment [CTX 1533336]

3

D-R8

4-27-2020 email from Tracy to Rishi re: call conference text on
2020/04/20 [CTX 4804-4806]

#e

D-S8

5-20-20 email from Tracy to Akshay, Rishi re: 22nd PRO
Invoice payment received [CTX 384496-384500]

*e

D-V8

10-10-21 email from Sinosure to Ms. Chen re: [Chinese
characters] EC20191005-EX01—BLD-S_61-62

7K

D-W8

Excel spreadsheet titled “ROK _US_HK Invoice List 2012-2018”

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Mack bdo
D-X8 Excel spreadsheet titled “Payment Schedule for xe
ROK US HK _ 2012-2018”Payment Detail Reconciliation
Excel spreadsheet titled “ROK Payment Details CTX-US- a
DNs HK_2012-2018 2”
D-Z8 Circuitronix Answer and Counterclaim [DE 34] et
D-A9 Benlida’s Answer [DE 43] *e
D-B9 Complaint [DE 1] ee
D-C9 Text Messages [CTX 1533216-1533217] ae
D-D9 Benlida Monthly Statement [BLD 00000113] ae
D-E9 Benlida Monthly Statement [BLD 00000287] ve
D-F9 Benlida Monthly Statement [BLD 00000674] ae
D-G9 . : Benlida Monthly Statement [BLD_00000690] *%
D-H9 [ o| A (o\ ( 4 Summary of the BLD and CTX Reconciliations (KM Rpt Tbl 1) |**
D-19 Analysis of Payments During the Reconciliation Period (KM Rpt |,
Tbl 2)
D-J9 Analysis of Invoice Discrepancy (KM Rpt Tbl 3) Pe
D-K9 Summary of the “Cancel amount and payment” Spreadsheet (KM |,.,
Rpt Tbl 4)
D-L9 LTP Waivers through 2016 (KM Rpt Tbl 5) **
D-M9 : ] LTP Claim After Jan. 2016 (KM Rpt Tbl 6) ee
i Summary of Payable Reconciliation bet. CTX & BLD (KM Rpt |,
Deh? lol 4 lol|4 Tol?) , .
D-09 . . Summary of Data from Benlida's Accounts Receivable ee
l |, _|Spreadsheet
D-R9 LOH fol [4 [Summary of CTX-US LTP 7
D-S9 en { ~ * |BLD ROK Penalty for Lead-Time Exceedances Report - April |,,
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D-T9 BLD ROK Penalty for Lead-Time Exceedances Report - April |,.,
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D-U9 BLD ROK Penalty for Lead-Time Exceedances Report - April |,.,
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D-v9 BLD ROK Penalty for Lead-Time Exceedances Report- Aug |...
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D-H10 BLD ROK Penalty for Lead-Time Exceedances Report -June |,
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D-K10 BLD ROK Penalty for Lead-Time Exceedances Report - May |,
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D-L10 BLD ROK Penalty for Lead-Time Exceedances Report - May _],.,,
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D-UI BLD Penalty for Lead-Time Exceedances Report - (7) July 2021 |,
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D-Y11 BLD Penalty for Lead-Time Exceedances Report - (9) September | ,.,
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D-Z11 BLD Penalty for Lead-Time Exceedances Report - (9) September |, ,
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D-A12 BLD Penalty for Lead-Time Exceedances Report - (9) September },,,
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D-B12 BLD Penalty for Lead-Time Exceedances Report -(5) May 2021 |,
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D-C12 BLD73 +%
D-D12 BLD364 ee
D-E12 BLD582 ¥F
D-GI2 BLD Penalty for Lead-Time Exceedances Report -June 2021 ex
US.xlsx
D-O13 Benlida Monthly Statement dated 2018.09.03 spreadsheet =
D-P13 y Summary of Benlida Output Data ae
j
D-Q13 lo]t? (ol (7 |Summary of Payments Made to ROK +
D-R13 007 | Jolt? [Bk Stmt [2698] 043018 Redacted [CTX 1533303-1533309] ae
D-S13 Jo t(7| 790 U7 __ [Bk Stmt [2698] 053118 Redacted [CTX 1533310-1533317] | **
D-T13 (O[t? /o f 17 __|Bk Stmt [2698] 063018 Redacted [CTX 1533318-1533325] | **
Bk Stmt [2698-5123] 033117_Redacted [CTX 1533296- ee
Bile Jol 19 lo Ny 1533302]
D-V13 70 [17 | vole |ctx 3269-3272 He
D-W13 Payment Schedule for ROK_US_HK Payment Detail ée
Des Reconciliation 2012-2018
D-X13 Loh.9 10] [T Summary of Premiums Paid ee
Excel Spreadsheet Titled “Benlida Proforma Cost and Inventory
pals lal l 7 | 0 (9 Management” ™
D-Z13 . Summary of CTX Payment Details for Post-July 2019 Invoices _|**
D-Al4 1-7-20 email from Melonnie to Tracy re: Benlida Payment Detail |,
for October 2019 invoices [CTX 1533326-153328]
D-B14 2-4-20 email from Melonnie to Tracy re: Benlida Payment detail |,
for November 2019 invoices [153329-15233332]
D-Cl4 3-2-20 email from Melonnie to Tracy re: Benlida Payment Detail |,,,
[CTX 1533383-1533384]
D-DI4 4-1-20 email from Melonnie to accounting@benlida.com [CTX |,,
1533333-1533335]
D-E14 Summary of TAC Invoices vt
Benlida's Additional Exhibits
Invoices from Third Amended Complaint, with sub-exhibit tabs Consolidated; R, UP gz to
Pl Pl-1 through P1-431 CTX-HK invoices P1-249
through P 1-431)
Unidentifiable; improper
PIA Summary Exhibit of Above, in Excel format summary (Fed. R. Evid.
1006); H
PIB Summary Exhibit of Above in PDF format _Hnidentifiable Cisted ax
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documents appear in
P2 Meeting Minutes, with sub-exhibit tabs different format fon other
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P3 Emails in reference to adding customers to the Exclusive List, Consolidated (333-pages,
with sub-exhibit tabs P3-1 through P3-102 most without Bates
numbers)
2-16-22 Email from Rishi to Tracy re: Exclusive customer list
P4 . : : R, UP
| with up to date exclusive customer list
Ps 12-19-2019 Email Re: Circuitronix, USA payment reconciliation | R, UP (as to CTX-HK
from Ist of April, 2012 until present for Benlida and ROK references)
PG so of Benlida Shipment and Payment Details CTX-HK 2012- R, UP
CTX HK POs referencing Exclusive List Clients, with sub- . .
P7 exhibit tabs P7-1 through P7-79 Consolidated; R, UP
PB 8-1-2019 Email From Tracy to Rishi Re: Final Payment R, UP (as to CTX-HK
Reconciliation references)
P9 Invoices and Purchase orders Unidentifiable (still not
from 2012-2017 produced); Consolidated
P10 2015 BLD Monthly Invoice Consolidated: R, UP (as to
Statement CTX-HK references)
Pil 2016 BLD Monthly Invoice Statement R, UP (as to CTX-HK
references)

**Plaintiff Benlida objects to, and otherwise reserves its rights to object to, CTX’s exhibits [D-A] through [D-E14] (and any further exhibits identified by CTX). Due to
the voluminous number of proposed exhibits — as of this time numbering 347 — it is impossible to review them all prior to this submission, and to provide more specific
objections thereto at this time. It is expected that a large number of the proposed exhibits will be objected to, however, on grounds of relevance, duplication, undue
prejudice, and on grounds previously stated in Benlida’s motion in limine. At this time, however, because it is impossible to review all of CTX’s proposed exhibits,
Benlida generally objects to all of them. Benlida's Trial Exhibit List (DE 219-1) at 33.

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